   Case: 1:17-md-02804-DAP Doc #: 3244 Filed: 03/30/20 1 of 4. PageID #: 492325



                               UNITED STATES JUDICIAL PANEL
                                            on
                                MULTIDISTRICT LITIGATION


IN RE: NATIONAL PRESCRIPTION OPIATE LITIGATION                                             MDL No. 2804


                                         TRANSFER ORDER


       Before the Panel:* Plaintiffs in twenty actions move under Panel Rule 7.1 to vacate the orders
conditionally transferring their respective actions, which are listed on Schedule A, to MDL No. 2804.
Various defendants1 oppose the motions.

         After considering the arguments of counsel, we find these actions involve common questions of
fact with the actions previously transferred to MDL No. 2804, and that transfer under 28 U.S.C. § 1407
will serve the convenience of the parties and witnesses and promote the just and efficient conduct of the
litigation. Moreover, transfer is warranted for the reasons set forth in our order directing centralization.
In that order, we held that the Northern District of Ohio was an appropriate Section 1407 forum for
actions sharing factual questions regarding the allegedly improper marketing and distribution of various
prescription opiate medications into states, cities, and towns across the country. See In re Nat’l
Prescription Opiate Litig., 290 F. Supp.3d 1375, 1378-79 (J.P.M.L. 2017).

        Despite some variances among the actions before us, all share a factual core with the MDL
actions: the manufacturer and distributor defendants’ alleged knowledge of and conduct regarding the
diversion of these prescription opiates, as well as the manufacturers’ allegedly improper marketing of
the drugs. See id. These actions therefore fall within the MDL’s ambit.

      Plaintiffs oppose transfer and principally argue that federal jurisdiction is lacking over their cases.
But opposition to transfer based on a jurisdictional challenge is insufficient to warrant vacating


       *
       Judges Karen K. Caldwell, Ellen Segal Huvelle and Nathaniel M. Gorton did not participate
 in the decision of this matter.
   1
     Amerisourcebergen Corp. and Amerisourcebergen Drug Corp.; Cardinal Health, Inc., Cardinal
 Health 5, LLC, Cardinal Health 100, Inc., Cardinal Health 108, LLC, Cardinal Health 110, LLC,
 Cardinal Health 113, Cardinal Health 122, LLC, Cardinal Health 132, LLC, Cardinal Health 200,
 LLC, Cardinal Health 201, Inc., Cardinal Health 414, LLC, Cardinal Health Pharmacy Services,
 LLC; McKesson Corp. (distributor defendants); Actavis, LLC, Actavis Pharma, Inc.; Allergan
 Finance LLC, Allergan PLC, Allergan Sales, LLC, Allergan USA, Inc., Cephalon, Inc.; Endo Health
 Solutions Inc., Endo Pharmaceuticals, Inc.; Hikma Pharmaceuticals USA, Inc.; Janssen
 Pharmaceuticals, Inc.; Johnson & Johnson; Mallinckrodt PLC, Mallinckrodt LLC, and Mallinkrodt
 Brand Pharmaceuticals; Par Pharmaceuticals, Inc., Par Pharmaceutical Companies, Inc.; SpecGx
 LLC; Teva Pharmaceutical Industries Ltd.;. Teva Pharmaceuticals USA, Inc.; and Watson
 Laboratories, Inc. (manufacturing defendants).
   Case: 1:17-md-02804-DAP Doc #: 3244 Filed: 03/30/20 2 of 4. PageID #: 492326



                                                    -2-

conditional transfer of factually related cases.2 Several plaintiffs also argue that including their actions
in this large MDL will cause them inconvenience and delay the progress of their actions. Given the
undisputed factual overlap with the MDL proceedings, transfer is justified in order to facilitate the
efficient conduct of the litigation as a whole. See In re Watson Fentanyl Patch Prods. Liab. Litig., 883
F. Supp. 2d 1350, 1351-52 (J.P.M.L. 2012) (“[W]e look to the overall convenience of the parties and
witnesses, not just those of a single plaintiff or defendant in isolation.”).

        IT IS THEREFORE ORDERED that the actions listed on Schedule A are transferred to the
Northern District of Ohio and, with the consent of that court, assigned to the Honorable Dan A. Polster
for inclusion in the coordinated or consolidated pretrial proceedings.


                                        PANEL ON MULTIDISTRICT LITIGATION




                                                          R. David Proctor
                                                           Acting Chair

                                       Catherine D. Perry                    Matthew F. Kennelly
                                       David C. Norton




    2
      See, e.g., In re: Prudential Ins. Co. of Am. Sales Practices Litig., 170 F. Supp. 2d 1346, 1347-
 48 (J.P.M.L. 2001).
  Case: 1:17-md-02804-DAP Doc #: 3244 Filed: 03/30/20 3 of 4. PageID #: 492327



IN RE: NATIONAL PRESCRIPTION OPIATE LITIGATION                       MDL No. 2804


                                       SCHEDULE A

           Central District of California

     CITY OF FULLERTON, ET AL. v. CEPHALON, INC., ET AL., C.A. No. 8:19!02235

           Eastern District of Missouri

     CLINTON COUNTY, MISSOURI v. ALLERGAN PLC, ET AL., C.A. No. 4:19!03169
     PIKE COUNTY, MISSOURI v. ALLERGAN PLC, ET AL., C.A. No. 4:19!03170
     RAY COUNTY, MISSOURI v. ALLERGAN PLC, ET AL., C.A. No. 4:19!03300
     VERNON COUNTY, MISSOURI v. ALLERGAN PLC, ET AL., C.A. No. 4:19!03302
     LAWRENCE COUNTY, MISSOURI v. ALLERGAN PLC, ET AL.,
           C.A. No. 4:20!00076
     HENRY COUNTY, MISSOURI v. ALLERGAN PLC, ET AL., C.A. No. 4:20!00077

           Southern District of Mississippi

     SINGING RIVER HEALTH SYSTEM, ET AL. v. GRACE, ET AL.,
          C.A. No. 1:19!00937

           District of New Mexico

     CITY OF SANTA FE v. PURDUE PHARMA L.P., ET AL., C.A. No. 1:19!01105
     CITY OF ALBUQUERQUE v. TEVA PHARMACEUTICALS USA, INC., ET AL., C.A. No.
           1:19!01168

           Eastern District of Oklahoma

     COAL COUNTY BOARD OF COUNTY COMMISSIONERS v. PURDUE PHARMA,
          LP, ET AL., C.A. No. 6:19!00405

           Western District of Oklahoma

     JACKSON COUNTY BOARD OF COUNTY COMMISSIONERS v. PURDUE PHARMA LP,
          ET AL., C.A. No. 5:19!01108
     LINCOLN COUNTY BOARD OF COUNTY COMMISSIONERS v. PURDUE PHARMA LP,
          ET AL., C.A. No. 5:19!01109
     WOODWARD COUNTY BOARD OF COUNTY COMMISSIONERS v. PURDUE
          PHARMA LP, ET AL., C.A. No. 5:19!01110
     BOARD OF COUNTY COMMISSIONERS OF NOBLE COUNTY v. PURDUE
          PHARMA LP, ET AL., C.A. No. 5:19!01127 (J. Palk)
Case: 1:17-md-02804-DAP Doc #: 3244 Filed: 03/30/20 4 of 4. PageID #: 492328



                                        - A2 -

         Southern District of Texas

   DALLAS COUNTY HOSPITAL DISTRICT ! PARKLAND MEMORIAL HOSPITAL,
       ET AL. v. AMNEAL PHARMACEUTICALS, INC., ET AL., C.A. No. 4:19!04834

         Eastern District of Virginia

   ISLE OF WIGHT COUNTY v. MALLINCKRODT, PLC, ET AL.,
         C.A. No. 2:20!00042
   NORTHAMPTON COUNTY v. MALLINCKRODT, PLC, ET AL.,
         C.A. No. 2:20!00043
   KING AND QUEEN COUNTY v. MALLINCKRODT, PLC, ET AL.,
         C.A. No. 3:20!00037

         Western District of Virginia

   CITY OF BUENA VISTA, VIRGINIA v. MALLINCKRODT PLC, ET AL.,
         C.A. No. 6:20!00005
